Case No. 1:25-mj-00074-CYC         Document 9 filed 04/11/25         USDC Colorado       pg 1
                                          of 2




                     IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

Case No. 25-mj-74-CYC

UNITED STATES OF AMERICA,

              Plaintiff,

v.

4. CESAR RAMON MARTINEZ SOLIS

              Defendant.


            ENTRY OF APPEARANCE OF COUNSEL FOR DEFENDANT
                     CESAR RAMON MARTINEZ SOLIS


       COMES NOW the undersigned, a member of the bar of this Court, and hereby enters an

appearance as appointed counsel pursuant to the Criminal Justice Act on behalf of the above-

named Defendant, Mr. Cesar Ramon Martinez Solis.

       Dated this 11th day of April, 2025.

                                             AVISO LAW, LLC

                                             /s/Ryan S. Coward
                                             Ryan S. Coward,
                                             559 E. Pikes Peak Avenue, STE 301
                                             Colorado Springs, CO 80903
                                             Telephone: (719) 247-3111
                                             Fax: (719) 297-3814
                                             E-Mail: ryan@avisolawllc.com
Case No. 1:25-mj-00074-CYC          Document 9 filed 04/11/25          USDC Colorado        pg 2
                                           of 2




                                  CERTIFICATE OF SERVICE

     I hereby certify that on the 11th day of April, 2025, I electronically filed the foregoing
ENTRY OF APPEARANCE OF COUNSEL FOR CORY CESAR RAMON MARTINEZ
SOLIS via Colorado Pacer.


                                               /s/Ryan Coward
                                               Ryan Coward
